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                              IN THE
                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

UNITED STATES OF AMERICA,                :
                                         :
         Appellee,                       :
                                         :
v.                                       : No. 22-3062
                                         :
THOMAS ROBERTSON,                        :
                                         :
         Appellant.                      :


     APPELLANT'S UNOPPOSED MOTION TO REMAND CASE TO
            DISTRICT COURT FOR RESENTENCING


      Undersigned counsel for Appellant, Thomas Robertson, moves this Court to

remand the present appeal to the United States District Court for the District of

Columbia, with instructions to resentence appellant in light of this Court’s recent

decision in United States v. Brock, __F.4th __, 2024 WL 875795 (D.C. Cir. March

1, 2024), and states:

      Undersigned counsel has communicated with Assistant United States Attorney

James Pearce, counsel for Appellee, who indicates that the government opposes the

instant motion.

      On February 13, 2024, this Court (Hon. Judges Henderson, Pillard, & Pan)


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granted appellant’s unopposed motion to hold appellant's pending petition for

rehearing/rehearing en banc in abeyance pending the Supreme Court’s disposition of

Fischer v. United States, No. 23-5572.

      On March 1, 2024, this Court issued its decision in United States v. Brock,

2024 WL 875795 (D.C. Cir. 2024). Brock involved a defendant, like appellant,

convicted under 18 U.S.C. § 1512(c)(2), who received a 3-level sentence

enhancement for interference with the "administration of justice" under U.S.S.G. §

2J1.2(b)(2). Compare Brock, 2024 WL 875795 * 3, with United States v. Robertson,

84 F.4th 1045, 1053 (D.C. Cir. 2023). Appellant also received an additional 8-level

enhancement, under U.S.S.G. § 2J1.2(b)(1)(B), for "causing or threatening to cause

physical injury to a person, or property damage, in order to obstruct the

administration of justice." Robertson, 84 F.4th at 1053. The defendant in Brock did

not receive this 8-level enhancement, but, like the § 2J1.2(b)(2) enhancement, it is

based on "obstruct[ing] the administration of justice."

      On appeal to this Court, appellant challenged the imposition of the 3-level

enhancement under § 2J1.2(b)(2), and the 8-level enhancement under §

2J1.2(b)(1)(B). Id. at 1070 ("In Robertson's view, his conduct does not fall within

either subsection (b)(1)(B) or (b)(2) because Congress's certification of the Electoral

College vote does not implicate the 'administration of justice'"). In Robertson, this

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Court reviewed these sentencing challenges for "plain error," and ruled that

Robertson failed to meet his burden to demonstrate plain error, finding that

"Robertson cites no binding authority limiting the administration of justice to judicial

or quasi-judicial proceedings." Id. at 1070-71. In Brock, however, this Court recently

reversed the imposition of the 2J1.2(b)(2) 2J1.2(b)(2) enhancement, finding that the

term "administration of justice" refers "to judicial, quasi-judicial, and adjunct

investigative proceedings, but does not extend to the unique congressional function

of certifying electoral college votes." Brock, 2024 WL 875795 at * 7.

      Thus, post-Brock, the binding law of this Circuit precludes the imposition of

a sentencing enhancement based on obstruction of the "administration of justice" on

defendants – like appellant -- convicted of "imped[ing] the Electoral College vote

certification."   Robertson, 84 F.4th at 1060. Appellant therefore seeks to be

resentenced in the district court without the application of the § 2J1.2(b)(2) and §

2J1.2(b)(1)(B) enhancements. Appellant is presently incarcerated based on his 87-

month sentence in the present case.

      Appellant is mindful that the United States Supreme Court’s anticipated

decision in United States v. Fischer, No. 23-5572 (U.S.) could become grounds for

vacating his conviction under 18 U.S.C. § 1512(c)(2). After this case is remanded to

the district court, in the event of a defendant-favorable decision in Fischer appellant

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would move the district court to vacate his § 1512(c)(2) conviction.

      WHEREFORE, appellant respectfully requests that this Court remand this case

to the district court for resentencing in accord with Brock.




                                       Respectfully submitted,

                                                     /s/
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                                       Appointed by this Court




                         CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Appellant’s Unopposed Motion to Remand

Case to the District Court for Resentencing was filed on March 7, 2024 via the

Court’s ECF system.




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